

Skuric v Montefiore Med. Ctr.-Jack D. Weiler Hosp. of Albert Einstein Coll. Div. (2022 NY Slip Op 03091)





Skuric v Montefiore Med. Ctr.-Jack D. Weiler Hosp. of Albert Einstein Coll. Div.


2022 NY Slip Op 03091


Decided on May 10, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 10, 2022

Before: Webber, J.P., Singh, Moulton, Kennedy, Rodriguez, JJ. 


Index No. 20166/13E Appeal No. 15909 Case No. 2021-01909 

[*1]Fatima Skuric, Plaintiff-Appellant,
vMontefiore Medical Center-Jack D. Weiler Hospital of Albert Einstein College Division, Defendant-Respondent.


C. Robinson &amp; Associates, LLC, New York (W. Charles Robinson of counsel), for appellant.
Aaronson Rappaport Feinstein &amp; Deutsch, LLP, New York (Patrick P. Mevs of counsel), for respondent.



Order, Supreme Court, Bronx County (John R. Higgitt, J.), entered April 26, 2021, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion to strike defendant's answer pursuant to CPLR 3216, unanimously affirmed, without costs.
Contrary to plaintiff's contention that defendant's answer should be stricken for failure to provide complete and proper responses to discovery demands and to comply with discovery orders and stipulations, defendant's actions in discovery do not evince the willfulness or contumaciousness or bad faith that would warrant such a drastic remedy (see Henderson-Jones v City of New York, 87 AD3d 498, 504 [1st Dept 2011]). Contrary to plaintiff's further contention, the court did not improperly reverse or overrule any prior findings or determinations.
We have considered plaintiff's remaining contentions and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 10, 2022








